            Case 1:21-cv-02677-JSR Document 18 Filed 05/07/21 Page 1 of 1
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SOUTHERN DISTRICT OF NEW YORK
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 Salpai Inc.,
                                      Plaintiff(s),

                                                                          21         . 02677       JSR
                                                                          __       C IV. _ _ _ _ (                      )
                     - against -
                                                                         CLERK'S CERTIFICATE
 George S. Bellas, Esq., Zeleny Solutions, Inc.                              OF DEFAULT

                                   Defendant(s),
-------------------------------------------------------------X
                    I, RUBY J. KRAJICK, Clerk of the United States District Court for

the Southern District of New York, do hereby certify that this action was commenced on
03/29/2021
_ _ _ _ _ _ _ with the filing of a summons and complaint, a copy of the summons and
       •           d  d ~ d ( ) Defendant Zeleny Solutions, Inc.
comp Iamt was serve on e_len ant s
                     .  George S. Bellas, Esq.
b y persona II y servmg _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ ___,
                 .                          4/14/2021               12
and proof of service was therefore filed on _ _ _ _ _ __, Doc. #(s) - - - - - - ~

I further certify that the docket entries indicate that the defendant(s) has not filed an

answer or otherwise moved with respect to the complaint herein. The default of the

defendant(s) is/are hereby noted.

Dated: New York, New York

                                                                         RUBY J. KRAJICK
                                                                           Clerk of Court



                                                                 By: _ _(;_D-;1-p~-ty-C-~-er-k------=~-




SONY Web 8/1/2018
